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11   Attorneys for Defendants Tesla, Inc., Elon Musk,
     Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
12   Antonio J. Gracias, James Murdoch, Kimbal Musk,
     And Linda Johnson Rice
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14
                                  UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17

18
     IN RE TESLA, INC. SECURITIES                         Case No. 3:18-cv-04865-EMC
19   LITIGATION
                                                          STIPULATION AND [PROPOSED] ORDER
20                                                        REGARDING STATUS CONFERENCE AND
                                                          MOTION IN LIMINE HEARING DATE
21

22

23          Pursuant to Civil Local Rule 6-2, Lead Plaintiff Glen Littleton (“Lead Plaintiff”) and
24   Defendants Tesla, Inc., Elon R. Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J.
25   Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice (collectively, “Defendants”)
26   (collectively, Lead Plaintiff and Defendants are referred to as the “Parties”), by and through their
27   undersigned counsel of record, submit the following stipulation and proposed order:
28

                                                                        STIPULATION AND [PROPOSED] ORDER
                                                                               CASE NO. 18-CV-04865-EMC
       Case 3:18-cv-04865-EMC Document 426 Filed 05/11/22 Page 2 of 4



 1          WHEREAS, on May 3, 2022, the Court entered an Order re Schedule for Pretrial Filings,

 2   which, among other things set a Status Conference (to discuss ADR) on June 28, 2022 and a

 3   Hearing on “early” MILs on July 21, 2022. (Dkt. No. 411);

 4          WHEREAS, counsel for Defendants are unavailable on the dates set by the Court for the

 5   Status Conference and Hearing and requested that counsel for Plaintiff stipulate to request new

 6   dates from the Court;

 7          WHEREAS counsel for Plaintiff are willing to accommodate the request from counsel for

 8   Defendants;

 9          NOW, THEREFORE, the Parties hereby jointly and respectfully request that the Court

10   reschedule the Status Conference (to discuss ADR) to July 6, 2022 or thereafter and the Hearing

11   on “early” MILs to August 4, 2022 or thereafter, with the deadlines for the MIL briefing adjusted

12   accordingly (35 days prior to the hearing for motions and 14 days thereafter for oppositions).

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14
     DATED: May 11, 2022                  LEVI & KORSINSKY, LLP
15

16                                        By: /s/ Nicholas I. Porritt
                                             Nicholas I. Porritt (appearing pro hac vice)
17                                           Attorneys for Lead Plaintiff Glen Littleton and Lead
                                             Counsel for the Class
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19
     DATED: May 11, 2022                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
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21                                        By: /s/ Alex Spiro
                                             Alex Spiro (appearing pro hac vice)
22                                           Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
                                             Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
23                                           James Murdoch, Kimbal Musk, And Linda Johnson Rice
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                                                                         STIPULATION AND [PROPOSED] ORDER
                                                      2                         CASE NO. 18-CV-04865-EMC
       Case 3:18-cv-04865-EMC Document 426 Filed 05/11/22 Page 3 of 4



 1                                                ORDER
 2          The Status Conference to discuss ADR is hereby reset to __________, 2022
 3
            The hearing to discuss “early” MILs is hereby reset to __________, 2022. Motions shall
 4
     be filed 35 days in advance of the hearing date and oppositions 14 days thereafter.
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     IT IS SO ORDERED.
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     Dated: __________________
 9                                                          HON. EDWARD M. CHEN
                                                            United States District Judge
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                                                                        STIPULATION AND [PROPOSED] ORDER
                                                      3                        CASE NO. 18-CV-04865-EMC
       Case 3:18-cv-04865-EMC Document 426 Filed 05/11/22 Page 4 of 4



 1                                          ATTESTATION

 2          I, Jeanine Zalduendo, am the ECF user whose ID and password are being used to file the

 3   above document. In compliance with Local Rule 5-1(h)(3), I hereby attest that Alex Spiro and

 4   Nicholas Porritt have concurred in the filing of the above document.

 5                                                              /s/ Jeanine Zalduendo
                                                                Jeanine Zalduendo
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                                                                        STIPULATION AND [PROPOSED] ORDER
                                                     4                         CASE NO. 18-CV-04865-EMC
